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                    EXHIBIT A
              Case 3:19-cv-00120-K Document 26-1 Filed 08/19/19                                      Page 2 of 15 PageID 85
 AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                           Northern District of __________
                                                        __________              Texas
                     Monica Abboud, et al.,
                                                                                )
                                Plaintiff                                       )
                                   v.                                           )      Civil Action No. 3:19-cv-00120-K
                                                                                )
                           Agentra, LLC,
                                                                                )
                               Defendant                                        )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
                                    Stellar Communication Partners, Inc. d/b/a Healthcare Enrollment Center
 To:

                                                        (Name of person to whom this subpoena is directed)

       ✔
       ’ Testimony:    YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
 or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
 those set forth in an attachment:
                                              See attached Addendum A.


  Place: A mutually agreeable location                                                  Date and Time:
                                                                                                         09/23/2019 9:00 am


           The deposition will be recorded by this method: Stenographically

       ’ Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        07/09/2019
                                    CLERK OF COURT
                                                                                          OR
                                                                                                             /s/ Taylor T. Smith
                                            Signature of Clerk or Deputy Clerk                                Attorney’s signature

 The name, address, e-mail address, and telephone number of the attorney representing (name of party)   Plaintiff Abboud
                                                                         , who issues or requests this subpoena, are:
Taylor T. Smith, Woodrow & Peluso, LLC, 3900 E. Mexico Ave., Suite 300, Denver, Colorado 80210; Tel: 720-907-7628;
tsmith@woodrowpeluso.com
                                 Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 3:19-cv-00120-K

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
              Case 3:19-cv-00120-K Document 26-1 Filed 08/19/19                                              Page 4 of 15 PageID 87
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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            ADDENDUM A TO SUBPOENA TO TESTIFY AT A DEPOSITION
                TO STELLAR COMMUNICATION PARTNERS, INC.
                  d/b/a HEALTHCARE ENROLLMENT CENTER

Please take notice that pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure, SCP is
hereby notified of its obligation to designate one or more officers, employees, agents or other
persons who can testify on behalf of SCP with respect to the topics set forth below. The
person(s) so designated shall be required to testify as to each of those matters known or
reasonably available to SCP. Therefore, please designate a representative to testify regarding the
following topics. The defined terms need not be capitalized to retain their defined meanings.

       1.    All steps YOU have taken to comply with the Telephone Consumer Protection
Act (“TCPA”), including YOUR policies and procedures, if any, with respect to complying with
the TCPA, and the training of any of YOUR personnel in such policies and procedures.

      2.      YOUR complete relationship with AGENTRA, including all contracts or
agreements with YOU on one hand and AGENTRA on the other.

        3.      All services that YOU perform on behalf of AGENTRA or for AGENTRA’s
benefit, including all telemarketing activities that YOU perform on behalf of AGENTRA or for
AGENTRA’s benefit.

       4.      All communications between YOU and AGENTRA regarding the TCPA and
telemarketing activity.

       5.      All call scripts used in the placing of telemarketing calls to PLAINTIFF.

         6.      All oversight or control that AGENTRA possesses over YOUR telemarketing
activities, including any periodic reporting YOU send to AGENTRA regarding telemarketing
activity YOU conduct or have conducted on AGENTRA’s behalf or for AGENTRA’s benefit.

       7.      All communications between YOU and AGENTRA regarding PLAINTIFF or this
lawsuit.

        8.     Any prior express consent that YOU claim was obtained to place telephone calls
and/or text message calls to PLAINTIFF, including all CONSENT LANGUAGE and the manner
by which YOU claim the prior express consent was obtained.

       9.      YOUR ability to IDENTIFY all PERSONS who provided supposed prior express
consent to be called by YOU on behalf of or for the benefit of AGENTRA in the same manner
that was used to obtain any supposed prior express consent to make calls or text message calls to
PLAINTIFF.

        10.      All PERSONS that YOU called on behalf of or for the benefit of AGENTRA on
their cellular telephone during the RELEVANT TIME PERIOD where the PERSONS provided
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prior express consent in the same manner that YOU claim any consent was obtained to make
calls to PLAINTIFF.

       11.     All calls that YOU placed to PERSONS on behalf of or for the benefit of
AGENTRA to all PERSONS during the RELEVANT TIME PERIOD where the PERSONS
provided prior express consent in the same manner that YOU claim any consent was obtained to
make calls to PLAINTIFF.

       12.     All PERSONS that YOU sent a text message call on behalf of or for the benefit of
AGENTRA on their cellular telephone during the RELEVANT TIME PERIOD where the
PERSONS provided prior express consent in the same manner that YOU claim any consent was
obtained to place texts to PLAINTIFF.

        13.    All text message calls that YOU placed to PERSONS on behalf of or for the
benefit of AGENTRA to all PERSONS during the RELEVANT TIME PERIOD where the
PERSONS provided prior express consent in the same manner that YOU claim any consent was
obtained to place texts to the PLAINTIFF.

       14.    YOUR communications with PLAINTIFF, including all calls and text messages.

       15.    The DIALING EQUIPMENT that YOU utilized to place calls to PLAINTIFF.

     16.   The DIALING EQUIPMENT that YOU utilized to place text message calls to
PLAINTIFF.

     17.     YOUR INTERNAL DO NOT CALL LIST, including the location of the list and
YOUR use of the list.

       18.     YOUR handling of DO NOT CALL REQUESTS, including any policies and
procedures in place regarding DO NOT CALL REQUESTS.

        19.    YOUR handling of STOP REQUESTS, including any policies and procedures in
place regarding STOP REQUESTS.

     20.   All PERSONS that YOU called at least once on behalf of or for the benefit of
AGENTRA after they submitted a DO NOT CALL REQUEST during the RELEVANT TIME
PERIOD.

     21.   All calls that YOU placed to PERSONS on behalf of or for the benefit of
AGENTRA after they submitted a DO NOT CALL REQUEST during the RELEVANT TIME
PERIOD.

        22.   All text message calls that YOU placed to PERSONS on behalf of or for the
benefit of AGENTRA after they sent a STOP REQUEST during the RELEVANT TIME
PERIOD.
     Case 3:19-cv-00120-K Document 26-1 Filed 08/19/19              Page 7 of 15 PageID 90


        23.   All PERSONS that YOU sent at least one text message on behalf of or for the
benefit of AGENTRA after they sent a STOP REQUEST during the RELEVANT TIME
PERIOD.

       24.    All DOCUMENTS that YOU produced in response to the Subpoena To Produce
Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action that
was served on YOU by PLAINTIFF.

                                         DEFINITIONS

1.      “CONSENT LANGUAGE” means and refers to all words, language, websites, images,
        terms, or disclosures that were shown, disclosed, or made viewable or available by YOU
        (or any person acting on YOUR behalf, for YOUR benefit, or in accordance with any
        agreement with YOU) to any consumer, including any disclosures located on or via any
        website, webpage, hyperlink, writing, or DOCUMENT, for the purpose of providing
        YOU with prior express consent to call the consumer’s cellphone as required by the
        Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.

2.      “DEFENDANT” or “AGENTRA" means and refers to the Defendant in the case,
        Agentra, LLC, a limited liability company organized and existing under the laws of the
        State of Texas whose primary place of business is located at 4201 Spring Valley Rd.,
        Suite 1500, Dallas, Texas 75244.

3.      “DIALING EQUIPMENT” means and refers to any equipment, including telemarketing
        systems and/or computers or computer systems used to make the telephone calls and/or
        text messages in this case, including dialing equipment known as a “predictive dialer” or
        “autodialer.” The definition also includes dialing technology that plays a pre-recorded
        voice or message. The definition also includes all associated hardware, software, coding,
        and databases (including language, rules, fields, and schema).

4.      “DO NOT CALL REQUEST” or any similar phrase, means and refers to any
        communication from a recipient of at least one of YOUR calls that communicated to
        YOU that the PERSON wanted to stop receiving calls from YOU.

5.      “DOCUMENTS” means and refers to writings, contracts, manuals, papers, drawings,
        graphs, diagrams, maps, audits and audit results, records, reports, investigations, charts,
        studies, photographs, sound recordings, images, computer programs, letters, ESI, emails,
        text messages, contracts, spreadsheets, agreements, data, databases, and any and all other
        data or data compilations, including without limitation all ESI, Excel files, screen shots,
        proof of backups, data or other reporting data—stored in any medium from which
        information can be obtained.

6.      “IDENTIFY” shall mean the following:

        A.     When referring to a person, it means to give the person’s full name, present
               address or last known address, additional phone number, and email address, and
     Case 3:19-cv-00120-K Document 26-1 Filed 08/19/19              Page 8 of 15 PageID 91


               the name of the registered business associated, owned, or operated, in any
               capacity by any such person.

        B.     When referring to an entity, it means to give the entity’s full name, contact
               telephone number, and email address, and any name that the entity purports to do
               business as (d/b/a name), and the type of entity that the business is registered as,
               including but not limited to business, corporation, limited liability company,
               professional association, and limited liability partnership.

7.      “INTERNAL DO NOT CALL LIST” means and refers to any internal list of phone
        numbers YOU maintain of PERSONS who have requested not to be called by YOU
        together with any written policies and procedures regarding the maintenance and use of
        any such list.

8.      “PERSON” means any natural person or any business, legal, quasi-governmental or
        governmental entity or association.

9.      “PLAINTIFF” means the Plaintiff in this action, Monica Abboud, and any subsequent
        Persons added as Plaintiffs to the Complaint or any subsequent or amended complaint.

10.     “RELEVANT TIME PERIOD” means and refers to the time from January 15, 2015 to
        the present.

11.     “SCP,” “YOU,” or “YOUR” means and refers to Stellar Communication Partners, Inc.
        d/b/a Healthcare Enrollment Center a California corporation whose principal place of
        business and corporate headquarters is located at 999 Corporate Dr., Suite 100, Ladera
        Ranch, California 92694, including all of its divisions, subsidiaries, related companies,
        predecessors and successors, and all of its owners, directors, managers, agents, attorneys,
        affiliates, subsidiaries, employees, contractors, partners, and joint ventures.

12.     “STOP REQUEST” means and refers to any communication from a recipient of at least
        one of YOUR text messages that says “STOP,” “Stop,” “End,” “Cancel,” “Quit,” or any
        similar language, or any other message that communicated to YOU that the PERSON
        wanted to stop receiving YOUR text messages.

13.     “TCPA” or “Telephone Consumer Protection Act” means and refers to the Telephone
        Consumer Protection Act, 47 U.S.C. § 227, et seq. and its implementing regulations, 47
        C.F.R. § 64.1200, et seq.
             Case 3:19-cv-00120-K Document 26-1 Filed 08/19/19                                            Page 9 of 15 PageID 92
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Northern District of Texas
                                                       __________              __________
                    Monica Abboud, et al.,
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 3:19-cv-00120-K
                          Agentra, LLC,
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                  Stellar Communication Partners, Inc. d/b/a Healthcare Enrollment Center
To:

                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:See attached Addendum A.



 Place:                                                                                 Date and Time:
          A mutually agreeable location
                                                                                                              07/30/2019 5:00 pm

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/09/2019

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Taylor T. Smith
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)   Plaintiff Abboud
                                                                        , who issues or requests this subpoena, are:
Taylor T. Smith, Woodrow & Peluso, LLC, 3900 E. Mexico Ave., Suite 300, Denver, Colorado 80210; Tel: 720-907-7628;
tsmith@woodrowpeluso.com
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:19-cv-00120-K

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
            Case 3:19-cv-00120-K Document 26-1 Filed 08/19/19                                               Page 11 of 15 PageID 94
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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             ADDENDUM A TO SUBPOENA TO PRODUCE DOCUMENTS TO
                STELLAR COMMUNICATION PARTNERS, INC. d/b/a
                    HEALTHCARE ENROLLMENT CENTER

Please produce the following documents for inspection and copying on or before July 30, 2019.
To the extent that SCP objects to any of the below requests on the basis of privilege, SCP must
provide a privilege log and produce any and all non-privileged documents. Defined terms need
not be capitalized to retain their defined meanings.

1.       All DOCUMENTS sufficient to IDENTIFY the manner by which YOU claim prior
         express consent was obtained to place telemarketing calls and/or text message calls on
         behalf of or for the benefit of AGENTRA to PLAINTIFF.

2.       All DOCUMENTS sufficient to IDENTIFY all CONSENT LANGUAGE or other
         disclosures used to obtain any prior express consent to place telemarketing calls or text
         message calls on behalf of or for the benefit of AGENTRA to PLAINTIFF.

3.       All DOCUMENTS sufficient to IDENTIFY all PERSONS who provided prior express
         consent to be called by YOU on behalf of or for the benefit of AGENTRA in the same
         manner that was used to obtain any supposed prior express consent to make calls to
         PLAINTIFF.

4.       All DOCUMENTS sufficient to IDENTIFY all PERSONS that YOU called on behalf of
         or for the benefit of AGENTRA on their cellular telephone during the RELEVANT
         TIME PERIOD where the PERSONS provided prior express consent in the same manner
         that YOU claim any consent was obtained to make calls to PLAINTIFF.

5.       All DOCUMENTS sufficient to IDENTIFY the number of times that YOU caused each
         PERSON to be called on behalf of or for the benefit of AGENTRA during the
         RELEVANT TIME PERIOD—including the date, time, and duration of each call—
         where the PERSONS provided prior express consent in the same manner that YOU claim
         any consent was obtained to make calls to PLAINTIFF.

6.       All DOCUMENTS sufficient to IDENTIFY the total number of calls YOU placed on
         behalf of or for the benefit of AGENTRA to all PERSONS during the RELEVANT
         TIME PERIOD where the PERSONS provided prior express consent in the same manner
         that YOU claim any consent was obtained to make calls to PLAINTIFF.

7.       All DOCUMENTS sufficient to IDENTIFY all PERSONS that YOU sent a text message
         on behalf of or for the benefit of AGENTRA during the RELEVANT TIME PERIOD
         where the PERSONS provided prior express consent in the same manner that YOU claim
         any consent was obtained to place texts to PLAINTIFF.

8.       All DOCUMENTS sufficient to IDENTIFY the number of times that YOU caused each
         PERSON to be texted on behalf of or for the benefit of AGENTRA during the
         RELEVANT TIME PERIOD—including the date and time or each text—where the
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         PERSONS provided prior express consent in the same manner that YOU claim any
         consent was obtained to place texts to PLAINTIFF.

9.       All DOCUMENTS sufficient to IDENTIFY the total number of text messages that YOU
         placed on behalf of or for the benefit of AGENTRA to all PERSONS during the
         RELEVANT TIME PERIOD where the PERSONS provided prior express consent in the
         same manner that YOU claim any consent was obtained to place texts to PLAINTIFF.

10.      All DOCUMENTS in YOUR possession that mention or reference PLAINTIFF.

11.      All DOCUMENTS sufficient to IDENTIFY the DIALING EQUIPMENT utilized to
         place calls to PLAINTIFF.

12.      All DOCUMENTS sufficient to IDENTIFY the DIALING EQUIPMENT utilized to
         place text message calls to PLAINTIFF.

13.      All DOCUMENTS sufficient to IDENTIFY all contracts and agreements between YOU
         and AGENTRA.

14.      All DOCUMENTS sufficient to IDENTIFY any and all steps YOU have caused to be
         taken to comply with the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.
         (“TCPA”) and its implementing regulations, 47 C.F.R. § 64.1200, et seq., including any
         training of employees.

15.      All DOCUMENTS sufficient to IDENTIFY YOUR INTERNAL DO NOT CALL LIST,
         if any.

16.      All DOCUMENTS sufficient to IDENTIFY the location of YOUR INTERNAL DO
         NOT CALL LIST, if any.

17.      All DOCUMENTS sufficient to IDENTIFY any and all PERSONS that YOU called at
         least once on behalf of or for the benefit of AGENTRA after they submitted a DO NOT
         CALL REQUEST during the RELEVANT TIME PERIOD.

18.      All DOCUMENTS sufficient to IDENTIFY the number of times YOU caused each
         PERSON to be called on behalf of or for the benefit of AGENTRA after they submitted a
         DO NOT CALL REQUEST during the RELEVANT TIME PERIOD.

19.      All DOCUMENTS sufficient to IDENTIFY the total number of calls YOU caused to be
         placed on behalf of or for the benefit of AGENTRA to any PERSON after they submitted
         a DO NOT CALL REQUEST during the RELEVANT TIME PERIOD.

20.      All DOCUMENTS sufficient to IDENTIFY any and all PERSONS that YOU sent at
         least one text message on behalf of or for the benefit of AGENTRA after they sent a
         STOP REQUEST during the RELEVANT TIME PERIOD.
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21.      All DOCUMENTS sufficient to IDENTIFY the number of times YOU caused each
         PERSON to be texted on behalf of or for the benefit of AGENTRA after they submitted a
         STOP REQUEST during the RELEVANT TIME PERIOD.

22.      All DOCUMENTS sufficient to IDENTIFY the total number of text messages YOU
         caused to be sent on behalf of or for the benefit of AGENTRA to any PERSON after they
         sent a STOP REQUEST during the RELEVANT TIME PERIOD.

23.      All DOCUMENTS sufficient to IDENTIFY any and all oversight or control that
         AGENTRA possesses over YOUR telemarketing activities.

24.      All DOCUMENTS sufficient to IDENTIFY any and all communications between YOU
         and AGENTRA regarding PLAINTIFF or this lawsuit.

                                          DEFINITIONS

1.       “CONSENT LANGUAGE” means and refers to all words, language, websites, images,
         terms, or disclosures that were shown, disclosed, or made viewable or available by YOU
         (or any person acting on YOUR behalf, for YOUR benefit, or in accordance with any
         agreement with YOU) to any consumer, including any disclosures located on or via any
         website, webpage, hyperlink, writing, or DOCUMENT, for the purpose of providing
         YOU with prior express consent to call the consumer’s cellphone as required by the
         Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.

2.       “DEFENDANT” or “AGENTRA" means and refers to the Defendant in the case,
         Agentra, LLC, a limited liability company organized and existing under the laws of the
         State of Texas whose primary place of business is located at 4201 Spring Valley Rd.,
         Suite 1500, Dallas, Texas 75244.

3.       “DIALING EQUIPMENT” means and refers to any equipment, including telemarketing
         systems and/or computers or computer systems used to make the telephone calls and/or
         text messages in this case, including dialing equipment known as a “predictive dialer” or
         “autodialer.” The definition also includes dialing technology that plays a pre-recorded
         voice or message. The definition also includes all associated hardware, software, coding,
         and databases (including language, rules, fields, and schema).

4.       “DO NOT CALL REQUEST” or any similar phrase, means and refers to any
         communication from a recipient of at least one of YOUR calls that communicated to
         YOU that the PERSON wanted to stop receiving calls from YOU.

5.       “DOCUMENTS” means and refers to writings, contracts, manuals, papers, drawings,
         graphs, diagrams, maps, audits and audit results, records, reports, investigations, charts,
         studies, photographs, sound recordings, images, computer programs, letters, ESI, emails,
         text messages, contracts, spreadsheets, agreements, data, databases, and any and all other
         data or data compilations, including without limitation all ESI, Excel files, screen shots,
         proof of backups, data or other reporting data—stored in any medium from which
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         information can be obtained.

6.       “IDENTIFY” shall mean the following:

         A.     When referring to a person, it means to give the person’s full name, present
                address or last known address, additional phone number, and email address, and
                the name of the registered business associated, owned, or operated, in any
                capacity by any such person.

         B.     When referring to an entity, it means to give the entity’s full name, contact
                telephone number, and email address, and any name that the entity purports to do
                business as (d/b/a name), and the type of entity that the business is registered as,
                including but not limited to business, corporation, limited liability company,
                professional association, and limited liability partnership.

7.       “INTERNAL DO NOT CALL LIST” means and refers to any internal list of phone
         numbers YOU maintain of PERSONS who have requested not to be called by YOU
         together with any written policies and procedures regarding the maintenance and use of
         any such list.

8.       “PERSON” means any natural person or any business, legal, quasi-governmental or
         governmental entity or association.

9.       “PLAINTIFF” means the Plaintiff in this action, Monica Abboud, and any subsequent
         Persons added as Plaintiffs to the Complaint or any subsequent or amended complaint.

10.      “RELEVANT TIME PERIOD” means and refers to the time from January 15, 2015 to
         the present.

11.      “SCP,” “YOU,” or “YOUR” means and refers to Stellar Communication Partners, Inc.
         d/b/a Healthcare Enrollment Center a California corporation whose principal place of
         business and corporate headquarters is located at 999 Corporate Dr., Suite 100, Ladera
         Ranch, California 92694, including all of its divisions, subsidiaries, related companies,
         predecessors and successors, and all of its owners, directors, managers, agents, attorneys,
         affiliates, subsidiaries, employees, contractors, partners, and joint ventures.

12.      “STOP REQUEST” means and refers to any communication from a recipient of at least
         one of YOUR text messages that says “STOP,” “Stop,” “End,” “Cancel,” “Quit,” or any
         similar language, or any other message that communicated to YOU that the PERSON
         wanted to stop receiving YOUR text messages.
